Case 0:22-cr-60028-WPD Document 49 Entered on FLSD Docket 08/10/2022 Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                                                  Case No.:22-60028-CR

UNITED STATES OF AMERICA,

      Plaintiff,
vs.

LUKE JOSELIN,

     Defendant.
_________________________________/

                       DEFENDANT’S MOTION IN LIMINE

       Defendant LUKE JOSELIN hereby moves this Honorable Court in limine to
preclude the government from introducing evidence or eliciting testimony of witnesses’ (a)
opinions that their own conduct was, in hindsight, illegal and (b) opinions that the
Defendant’s conduct was illegal. In support thereof, undersigned counsel states as follows:

                                    BACKGROUND

On January 19, 2021, Co-Defendant Judlex Jean Louis, pleaded guilty to bank fraud and
aggravated identity theft. On January 20, 2022, Co-Defendant Renaldo Harrison, pleaded
guilty to conspiracy to commit wire fraud and wire fraud.

On February 24, 2022, a federal grand jury returned a twelve (12) count Indictment
charging the Defendant with the following counts:

COUNT I: Conspiracy to Commit Wire Fraud
COUNTS II - X: Wire Fraud
COUNTS XI – XII: Aggravated Identity Theft

This indictment comes as a result of statements from the Co-Defendants. On March 2,
2022, Mr. Joselin with agreement from the Government turned himself in to Law
Enforcement Officers on the warrant and Indictment.


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                                             1
Case 0:22-cr-60028-WPD Document 49 Entered on FLSD Docket 08/10/2022 Page 2 of 5




                                      ARGUMENT

I.    Motion in Limine to Preclude the Government from Introducing Evidence or
      Eliciting Testimony of Witnesses’ (a) Opinions that their own conduct was, in
      hindsight, illegal and (b) Opinions that the Defendant’s conduct was illegal.

The witness interview reports produced in this case contain an undercurrent of discussions
regarding the legality of the Paycheck Protection Program loans. The Co-Defendants in
this case made statements to law enforcement that suggest the Defendant was the leader
behind the alleged conspiracy. However, the defense contends that these statements were
made in an effort to mislead law enforcement and to seek a lesser sentence.

a.    Legal Standard

“The Government may present evidence of a witness’ contemporaneous understanding of
the propriety of his or her conduct as relevant to that witness’ state of mind. A witness may
not express his or her opinion as to the legality of the conduct of others or explain how he
or she now views historical behavior.” United States v. Kapoor, et al., 16-cr-103430ADM
(D. Mass. January 15, 2019) (D.E. at 5); See also United States v. Van Eyl, 468 F. 3d 428,
437 (7th Cir. 2006) (affirming order of new trial where “the [district] court feared the jury
would conclude that if others thought the conduct was wrong then [the defendant] must
have possessed the intent to defraud.”); United States v. Henke , 222 F.3d 633, 639-40 (9th
Cir. 2000) (holding that the district court erred by admitting questioning “done in order to
elicit [the witness’s] conclusion that the defendants ‘must have known’ about the illegal
conduct.”); United States v. Anderskow, 88 F.3d 245, 250 (3d Cir. 1996) (agreeing that
testimony that defendant “must have known” improperly turned lay witness “into thirteenth
juror.”) .

The Defense recognizes that Fed. R. Evid. 80l(d)(2)(E) provides that a statement by the
Defendant's co-conspirator during the course and in furtherance of the conspiracy is not
hearsay. Furthermore, declarations of co-conspirators are admissible against the defendant
only if three elements are satisfied: 1) the statement was made in furtherance of the
conspiracy 2) it was made during the course of the conspiracy and 3) there is independent
evidence to establish the conspiracy.




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                                              2
Case 0:22-cr-60028-WPD Document 49 Entered on FLSD Docket 08/10/2022 Page 3 of 5




b.   Argument

First, a witness’s opinions (whether in hindsight or not) regarding the illegality of the
Defendant’s actions are inadmissible and inappropriate legal opinions under Federal Rule
of Evidence 701. See, e.g. Second, a witness’s hindsight opinions regarding the illegality
of the witness’s own actions are irrelevant and unfairly prejudicial. See Fed. Rs. Evid. 401,
403. Further, a witness’s opinion that, in hindsight, the witnesses’s past conduct was
contrary to some unspecified law is irrelevant to whether the Defendant had the requisite
specific intent to agree to the particular violations of law alleged at the time the conduct
took place. See United States v. Herman, 589 F.2d 1191, 1198 (3d. Cir. 1978) (when
balancing under Rule 403, a court should consider “the extent to which [the proposition
that the evidence establishes is] directly at issue in the case”).

In the instant case, the Co-Conspirators provided their statements against the Defendant
after being notified of their own offenses and had an indictment filed against them.
Therefore, their statements were not made to further the alleged conspiracy or during its
course. Moreover, confession or admission by one co-conspirator after he has been
apprehended is not in any sense a furtherance of the criminal enterprise. It is rather a
frustration of it. Gambino v. United States, 108 F.2d 140, 142-143.

"Conspirators' declarations are good to prove that some conspiracy exists but less
trustworthy to show its aims and membership. The conspirator's interest is likely to lie in
misleading the listener into believing the conspiracy stronger with more members (and
different members) and other aims than in fact it has. It is no victory for common sense to
make a belief that criminals are notorious for their veracity the basis for law." Levie,
Hearsay and Conspiracy, 52 Mich. L. Rev. 1159, 1165-1166 (1954). United States v. Inadi,
475 US 387 – Supreme Court 1986.

                                     CONCLUSION

       WHEREFORE, for the foregoing reasons, the Court should grant the Defendant’s
Motion in Limine and preclude the government from introducing evidence or eliciting
testimony of witnesses’ (a) opinions that their own conduct was, in hindsight, illegal and
(b) opinions that the Defendant’s conduct was illegal.


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                                              3
Case 0:22-cr-60028-WPD Document 49 Entered on FLSD Docket 08/10/2022 Page 4 of 5




                 CERTIFICATE OF GOOD FAITH CONFERENCE

I hereby certify that the movant has conferred with all parties or non-parties who may be
affected by the relief sought in this motion in good faith to resolve the issues raised in the
motion and states that the following issues have been resolved: The Assistant United
States’ Attorney Kiran Bhat objects to said Motion.

Date: August 10, 2022.

                                                                    Respectfully Submitted,

                                                               THE DAVIS LEGAL CENTER
                                                                 /s/ Dameka L. Davis, Esq.
                                                                     Dameka L. Davis, Esq.
                                                                  Florida Bar No.: 0110587
                                                       2719 Hollywood Boulevard, A-1187
                                                                 Hollywood, Florida 33020
                                                                  Telephone: 954-256-5958
                                                                     Fax No.: 954-272-7665
                                                       Email: ddavis@thedavislawfirm.com




                             CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 10th day of August 2022, I served a copy of the
foregoing via electronic mail on all counsel of record as set forth in the service list.




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                                              4
Case 0:22-cr-60028-WPD Document 49 Entered on FLSD Docket 08/10/2022 Page 5 of 5




                                        SERVICE LIST



THE DAVIS LEGAL CENTER
/s/ Dameka L. Davis, Esq.
Dameka L. Davis, Esq.
Florida Bar No.: 0110587
2719 Hollywood Boulevard, A-1187
Hollywood, Florida 33020
Telephone: 954-256-5958
Fax No.: 954-272-7665
Email: ddavis@thedavislawfirm.com
Counsel for Defendant,
Luke Joselin

Served via electronic mail

The United States Attorney’s Office
Southern District of Florida
500 S. Australian Ave.
West Palm Beach, FL 33041

Service sent Electronically via Email




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                                  2719 HOLLYWOOD BOULEVARD
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